Case 6:15-cv-00234-RWS-JDL Document 11 Filed 05/13/15 Page 1 of 2 PageID #: 37




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION



 ROTHSCHILD BROADCAST DISTRIBUTION                           CASE NO. 6:15-CV-234
 SYSTEMS, LLC,

                 Plaintiff,
                                                             JURY TRIAL DEMANDED
        v.

 Wistia, Inc.,

                 Defendant.



                 VOLUNTARY DISMISSAL OF DEFENDANT WISTIA, INC.
                         PURSUANT TO FED. R. CIV. P. 41


        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Rothschild Broadcast Distribution

 Systems, LLC, hereby voluntarily dismisses with prejudice its claims against Defendant Wistia,

 Inc. , in the above captioned action. Each party is to bear its own attorneys’ fees and costs.
Case 6:15-cv-00234-RWS-JDL Document 11 Filed 05/13/15 Page 2 of 2 PageID #: 38




 DATED: May 13, 2015                            Respectfully Submitted,


                                                By: /s/ Charles Ainsworth

                                                Charles Ainsworth
                                                State Bar No. 00783521
                                                Robert Christopher Bunt
                                                State Bar No. 00787165
                                                PARKER, BUNT & AINSWORTH, P.C.
                                                100 E. Ferguson, Suite 1114
                                                Tyler, TX 75702
                                                903/531-3535
                                                903/533-9687
                                                E-mail: charley@pbatyler.com
                                                E-mail: rcbunt@pbatyler.com
                                                Attorneys for Plaintiff,
                                                Rothschild Broadcast Distribution Systems,
                                                LLC


                                CERTIFICATE OF SERVICE

         I hereby certify that the following counsel of record, who are deemed to have consented
 to electronic service are being served this 13th day of May, 2015, with a copy of this document
 via the Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be
 served by electronic mail, facsimile transmission and/or first class mail on this same date.

                                            /s/ Charles Ainsworth
                                            CHARLES AINSWORTH




                                               -2-
